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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 CARLOS A. SANTIAGO,

                                       Plaintiff,
       v.                                                  MONROE COUNTY’S NOTICE
                                                            OF MOTION TO DISMISS
 CITY OF ROCHESTER,
 MONROE COUNTY, et al.,                                    Case No. 14-CV-06719(FPG)(MJP)

                                       Defendants.


Motion By:       Defendant Monroe County (the “County”).

Relief           An order pursuant to Rule 12(c) of the Federal Rules of Civil Procedure granting
Requested:       judgment on the pleadings and dismissing, with prejudice, the Complaint and all
                 claims as against the County, and such other and further relief as this Court deems
                 proper.

Supporting       Notice of Motion; Declaration of Maria E. Rodi, Esq., dated March 28, 2021; and
Papers:          Memorandum of Law, dated March 28, 2021.

Grounds for
Motion:          Plaintiff’s Second Amended Complaint is in violation of the applicable statute of
                 limitations and fails to sufficiently plead claim against Monroe County.

Location:        United States Court House, 100 State Street, Rochester, New York 14614

Opposing         Under Local Rule, Plaintiff is required to file and serve opposing papers fourteen
Papers:          (14) days after the service of this motion, if the Court does not issue an order with
                 an alternative deadline. The County intends to file and serve reply papers.

March 28, 2021                                John P. Bringewatt, Monroe County Attorney

                                              s/ Maria E. Rodi
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To:    All Counsel of Record, by ECF
